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16                             UNITED STATES DISTRICT COURT

17                             FOR THE DISTRICT OF ARIZONA

18
     Bhavika Patel,                                   Case No. 2:17-cv-01420-GMS
19
                           Plaintiff,
20                                                    STIPULATION AND MOTION TO
     v.                                               DISMISS WITH PREJUDICE
21                                                    CLAIMS ONLY AGAINST
     Itria Ventures LLC; Biz2Credit Inc.; and         DEFENDANTS TRANS UNION, LLC
22   Trans Union LLC,
23                         Defendants.
24
25          Plaintiff Bhavika Patel and Defendant Trans Union, LLC, pursuant to Fed. R. Civ.
26   P. 41(a)(1)(A)(ii), stipulate and move that the Plaintiff’s claims against TransUnion be
27   dismissed, with each party to bear its own attorneys’ fees and costs.
28
      Case 2:17-cv-01420-GMS Document 42 Filed 12/08/17 Page 2 of 3



1
                                                 Respectfully,
2
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14                                     CERTIFICATE OF SERVICE
             I hereby certify that on or about December 8, 2017, a true and correct copy of the
15   foregoing was filed using the electronic filing system and forwarded by electronic transmission
     all counsel of record:
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